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11
                                 UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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14
     LORIANN STAPLES, ASHLEY CLARK, and                Case No.
15
     DEANN SCOTT, individually and on behalf of
16   all others similarly situated,
                                                       CLASS ACTION COMPLAINT
17                                       Plaintiffs,
            v.
18                                                     JURY TRIAL DEMANDED

19   E&E CO., LTD.,

20                                      Defendant.

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1                                       NATURE OF THE ACTION
 2          1.      This is a putative class action lawsuit on behalf of purchasers of Defendant E&E
 3   Co., Ltd.’s (“Defendant”) 1000 thread count Beautyrest-brand bedding and linen products (the
 4   “Beautyrest Products”) and 1500 thread count Madison Park-brand bedding and linen products (the
 5   “Madison Park Products”) (collectively, the “Products”). Defendant is the licensee of the
 6   Beautyrest and Madison Park trademarks. Defendant labels, markets, manufactures, distributes,
 7   and sells these Products as having higher thread counts than they actually have. By doing so,
 8   Defendant’s labeling and marketing have the tendency or capacity to deceive or confuse reasonable
 9   consumers into believing the Products are of better quality, more durable, longer lasting, softer, and
10   more comfortable for sleeping than products with lesser thread counts. In purchasing Defendant’s
11   Products, class members received less than what was promised by Defendant due to the inflated
12   thread counts represented on the advertisements and labels of the Products.
13          2.      Independent testing has revealed that, contrary to Defendant’s representation that its
14   products are made with a thread count of 1000, the Beautyrest Products are actually made with a
15   thread count of 216. 1 Likewise, testing has revealed that the Madison Park Products are not 1500
16   thread count, but in fact in the range of 237 to 295. 2 As a cross check against the test results, the
17   same industry-standard test methodology was used on a competing brand advertised as 600 thread
18   count. Unlike Defendant’s Products, the test results for that competing product passed. 3
19          3.      Defendant’s misleading representations of the Products deceive the public into
20   believing that they are purchasing a product with a higher thread count than they actually have.
21   The fact that Defendant emphasizes the thread count as a distinguishing feature of its products
22   shows that thread count is material to consumers.
23          4.      Plaintiffs and Class Members would not have purchased the Products – or would not
24   have paid as much as they did to purchase them – had they known that they were not in fact the
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     1
       See Exhibit A.
27   2
       See Exhibit B.
28   3
       See Exhibit C.

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 1   thread count represented. Plaintiffs and Class Members thus suffered monetary damages as a result
 2   of Defendant’s deceptive and false representations.
 3                                                PARTIES
 4          5.      Plaintiff Loriann Staples is domiciled in California, residing in Fremont, California.
 5   In, or around November 2021, Plaintiff Staples purchased a pack of Beautyrest 1000 thread count
 6   bed sheets from a Target in Fremont, California. Before buying her Beautyrest Product, Plaintiff
 7   Staples reviewed the product’s labeling and packaging and saw that the product was labeled and
 8   marketed as “1000 thread count.” Plaintiff Staples understood this statement to mean that the
 9   sheets she was purchasing would be 1000 thread count sheets, and she bought the sheets because of
10   that representation. Plaintiff Staples would not have purchased the sheets if she had known that the
11   1000 thread count labeling was false, or she would have paid less for them.
12          6.      Plaintiff Ashley Clark is domiciled in New York, residing in Manhattan. In, or
13   around December 2022, Plaintiff Clark purchased a pack of Beautyrest 1000 thread count bed
14   sheets from a Target in New York. Before buying her Beautyrest Product, Plaintiff Clark reviewed
15   the product’s labeling and packaging and saw that the product was labeled and marketed as “1000
16   thread count.” Plaintiff Clark understood this statement to mean that the sheets she was purchasing
17   would be 1000 thread count sheets, and she bought the sheets because of that representation.
18   Plaintiff Clark would not have purchased the sheets if she had known that the 1000 thread count
19   labeling was false, or she would have paid less for them.
20          7.      Plaintiff Deann Scott is domiciled in California, residing in Oakley, California. In,
21   or around, Summer 2021, Plaintiff Scott purchased a pack of Madison Park 1500 thread count bed
22   sheets from a Bed Bath & Beyond in Antioch, California. Prior to her purchase of her Madison
23   Park Product, Plaintiff Scott reviewed the product’s labeling and packaging and saw that the
24   product was labeled and marketed as “1500 thread count.” Plaintiff Scott relied on that labeling
25   and packaging to choose her Madison Park Products over comparable products. Plaintiff Scott saw
26   these representations prior to, and at the time of purchase, and understood them as representations
27   and warranties that her Madison Park Product would be of a “1500 thread count.” Plaintiff Scott
28   understood this statement to mean that the sheets she was purchasing would be 1500 thread count


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 1   sheets, and she bought the sheets because of that representation. Plaintiff Scott would not have
 2   purchased the sheets if she had known that the 1500 thread count labeling was false, or she would
 3   have paid less for them.
 4          8.      Plaintiffs and putative class members paid a price premium due to the false and
 5   misleading thread count claims.
 6          9.      Plaintiffs regularly go to stores where Beautyrest or Madison Park sheets are sold
 7   and would consider purchasing the products again in the future if the thread count labels were
 8   accurate and complied with industry standards for determining thread counts. Absent an injunction
 9   to this effect, Plaintiffs will be unable to rely with confidence on Defendant’s advertising of the
10   Products in the future. Indeed, if those change were made, Plaintiffs would have no practical way
11   to know that was the case. As a result, they may either refrain from purchasing the products in the
12   future or may purchase them incorrectly assuming that they have been improved, and that the
13   thread count labeling conforms with industry standards for accurately determining thread counts.
14          10.     Defendant is a corporation incorporated in the state of Delaware with its principal
15   executive office located in Fremont, California. Defendant is the licensee of the Beautyrest and
16   Madison Park trademarks. Defendant markets, manufactures, distributes, and sells the Beautyrest
17   and Madison Park products.
18          11.     There is a significant contact or significant aggregation of contacts between
19   Defendant and each class member. A significant portion of the conduct giving rise to liability
20   occurred in California. On information and belief, Defendant’s product compliance, quality
21   assurance, supply chain, retail operations, marketing, global sourcing, and customer service
22   departments are located at Defendant’s headquarters in California. Final decisions and approvals
23   regarding labeling, marketing, sales, and pricing were made in California. To the extent that the
24   sheets and pillowcases were manufactured outside California, they were nonetheless made for
25   Defendant as the exclusive, California-based importer and distributor of the products.
26                                     JURISDICTION AND VENUE
27          12.     This Court has subject matter jurisdiction pursuant to 28 U.S.C § 1332(d)(2)(a)
28   because this case is a class action where the aggregate claims of all members of the proposed class


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 1   are in excess of $5,000,000.00, exclusive of interest and costs, there are over 100 members of the
 2   putative class, and Plaintiffs, as well as most members of the proposed class, are citizens of states
 3   different from Defendant.
 4          13.     This Court has personal jurisdiction over Defendant because Defendant is
 5   headquartered in this District, and Plaintiffs’ claims arise out of each of the Defendants’ forum-
 6   related activities including the sale, marketing, and advertising of the Products.
 7          14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant
 8   is headquartered in this District and a substantial part of the events giving rise to Plaintiffs’ claims
 9   took place within this District.
10          15.     Defendant received multiple pre-suit notices of the claims at issue in this litigation,
11   including relevant test results, in January and April 2023. Defendant has responded to the notices,
12   but not provided any relief to class members or altered its unlawful business practices.
13                                       FACTUAL ALLEGATIONS
14          A.      Defendant’s Misrepresentations and Omissions Regarding The Products
15          16.     Products at issue: Beautyrest 1000 thread count sheets and pillowcases, and
16   Madison Park 1500 thread count sheets and pillowcases.
17          17.     All Beautyrest sheets and pillowcases are substantially similar regardless of size or
18   color. The labeling is materially the same for all such products. The 1000 thread count labeling is
19   false for all such products, and for the same reason.
20          18.     All Madison Park sheets and pillowcases are substantially similar regardless of size
21   or color. The labeling is materially the same for all such products. The 1500 thread count labeling
22   is false for all such products, and for the same reason.
23          19.     Relevant time period: All misrepresentation and omissions at issue here were
24   consistently made at all times during the last four years, at least.
25          20.     There have been no material changes to the product packaging during the relevant
26   time period.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           4
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 1          21.    Misrepresentation at issue: The misrepresentations at issue are found on the front
 2   packaging of the Products.
 3          22.    Defendant misrepresents the Beautyrest Products as having a thread count of 1000:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   5
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 1           23.   Defendant misrepresents the Madison Park Products as having a thread count of
 2   1500:
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20           24.   The online labeling and marketing of the Products similarly reference the same
21   purported thread counts. For example, the Madison Park listings on Amazon.com,
22   Bedbedbathandbeyond.com, and Macys.com all boldly claim that the Products have a “1500
23   Thread Count.” See examples below.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   6
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                       8
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                        9
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            25.     Defendant intends that consumers will read and rely on the thread count claims
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     made in Defendant’s advertising and labeling, and Plaintiffs and putative class members read and
16
     rely on those claims to their detriment.
17          B.      Why/How The Representations At Issue Here Are False And Have The
18                  Tendency Or Capacity To Deceive Or Confuse Reasonable Consumers
            26.     A fabric’s “thread count” is a quantifiable measure of the total number of warp
19
     (vertical) and weft (horizontal) yarns within a square inch of the fabric. To calculate thread count,
20
     the number of vertical yarns is simply added to the number of horizontal yarns.
21
            27.     A fabric’s thread count is indicative of the quality, durability, and longevity of the
22
     fabric, and also determines the coarseness or fineness of the fabric, and therefore how soft and
23
     smooth it is to the touch. If a fabric has a higher thread count (i.e., more threads per square inch), it
24
     will not only be stronger and more durable, but will also feel smoother and softer to the touch. As
25
     such, a fabric’s “thread count” has become a material basis on which reasonable consumers make
26
     purchasing decisions.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            10
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 1          28.      Moreover, as a general matter, the higher the thread count, the higher the price for
 2   that product. Indeed, consumers pay a premium for sheets based on purportedly higher thread
 3   counts and the belief that a higher thread count means higher quality. See
 4   https://www.mattressadvisor.com/thread-count-really-matter-sheets/ (“higher thread counts mean
 5   higher prices, which consumers happily pay believing they are buying top quality sheets with
 6   thread counts of 750, 800, 1000, or even higher.”); see also Hawes v. Macy’s Stores W., Inc., No.
 7   1:17-CV-754, 2022 WL 194407, at *16 (S.D. Ohio Jan. 22, 2022) (“The Court finds there is more
 8   than enough evidence suggesting thread-count is a material factor in consumers’ choice of
 9   bedsheets.”).
10          29.      Industry participants, including Defendant, know that consumers will pay higher
11   prices for bedding and linen products with a higher thread count because of the purported higher
12   quality. Therefore, industry participants increase product pricing as the thread count on the
13   products increases. This includes industry participants such as Defendant.
14          30.      The industry standard for measuring thread counts is based on the American Society
15   for Testing and Materials’ (“ASTM”) Standard Test Method for Warp (End) Count and Filling
16   (Pick) Count of Woven Fabric, Designation: D3775 (applicable to all woven fabrics).
17          31.      The ASTM D3775 standard requires that individual warp ends and filling picks are
18   counted as “single units regardless of whether they are comprised of single or plied components”
19   per D3775.
20          32.      The decades-long industry practice in the United States for thread counting has been
21   to “count the number of threads in both the warp and filling directions” and to count plied yarns as
22   “one yarn, regardless of whether the yarn was a single ply or multi-ply yarn. (A multi-ply yarn is
23   one yarn that has been created by twisting two or more yarns together.)” 4
24

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26   4
      Letter from James Kohm, Assoc. Dir. for Enf’t Bureau of Consumer Prot., FTC, to E. Linwood
27   Wright, III, Chairman of the Textile Bedding Comm. of the Nat’l Textile Ass’n (Aug. 2, 2005)
     https://www.ftc.gov/sites/default/files/documents/advisory_opinions/national-textile-
28   association/natltextileassn.pdf


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           11
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 1           33.    However, some manufacturers, including Defendant, have departed from the
 2   industry standard for measuring thread count by “counting plied yarns individually.” 5 This results
 3   in a thread count inflation of double or triple (or higher) the thread count as would be measured
 4   using traditional industry standards. 6
 5           34.    To support its fraud, Defendant relies on a counting methodology that is
 6   inconsistent with industry standards, and which is designed to falsely inflate the true thread count
 7   of the sheets. In support of this scheme, Defendant has ginned up false test results that purport to
 8   show passing test results. However, much like an asterisk on a major league baseball record
 9   denoting steroid use, Defendant’s own internal testing includes an asterisk and disclosure
10   signifying departure from industry standard methodologies:
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15                  Selected tests as requested by applicant against specified requirement / test request form / quotation.


16

17           35.    The inclusion of an asterisk in the picks/ inch field above denotes that 16 inserts
18   were counted per pick. That is not the industry standard method for thread counting, and if it were,
19   then there would be no need to include the asterisk and corresponding explanation. The test results
20   further note that they were “requested by [Defendant] against specified requirement[s],” which
21   again denotes departure from the industry standard methodology for thread counting.
22           36.    In a letter to the National Textiles Association (“NTA”), the Federal Trade
23   Commission (“FTC”) stated that this non-traditional practice of measuring thread count “created
24   confusion in the marketplace and has caused consumers to compare thread counts that may have
25   been calculated in two dramatically different ways.” 7 The FTC also stated that “consumers could
26   5
       Id.
27   6
       Id.
     7
28     Id.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                                             12
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 1   be deceived or misled by the practice of stating an inflated thread count, achieved by multiplying
 2   the actual count by the number of plies within the yarn.” 8
 3             37.    The practice of counting the plies that make up each thread was also condemned by
 4   the American Textile Manufacturer’s Institute (“ATMI”). In a letter sent to the FTC on January
 5   31, 2002, Exhibit B, ATMI addressed marketing of bed sheets and pillowcases to consumers with
 6   claims of extremely high yarn or thread count claims, stating that:
 7
               Labeling these products based on a count that includes each ply in plied yarns
 8
               deceives the customer into believing that bedding products with higher counts are
 9             better, when, in fact, they might be inferior because of the method used to determine
               the count.
10
                                                        ...
11
               In many cases, these extremely high counts are achieved by counting yarns within
12
               a ply as individual yarns, thus dramatically increasing the number of yarns in a
13             square inch of fabric. A plied yarn is one in which two or more yarns are twisted
               together to form a single strand.
14
               ATMI believes this method of labeling products based on counting each individual
15             yarn in plies to be a deceptive practice, which misleads the American public into
               making purchasing decisions to purchase items, based on false and misleading
16
               information.
17
               ASTM method D 3775-96 (Standard Test Method for Fabric Count of Woven
18             Fabric) [a prior version of D3775-12] the long-accepted industry standard for
               determining count. This method has been in use in this country for many years and
19             serves as the industry’s standard way to report the count of many woven textile
20             fabrics, including sheeting. It is based on the number of yarns in the warp direction
               and filling direction, regardless of ply, and has become an important parameter used
21             by consumers to judge the quality of sheeting products, since the higher the count,
               the more luxurious the product.
22
               ATMI believes that any information provided to the consumer should be true and
23             correct so as not to be deceptive or misleading. We believe that plied yarns are
24             properly counted as only one yarn. For example, a fabric containing 250 individual
               four ply yarns in a square inch would be described as a “250 thread count fabric,
25             even though each thread or yarn contained four plies twisted together.” It would
               be false and misleading to describe this as a 1000 thread count product.
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28       Id.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         13
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 1            38.    Despite knowing the long-standing industry standards, Defendant deviated from the
 2   traditional thread counting standards to mislead consumers. Defendant’s Products were
 3   manufactured, marketed, advertised, sold, and/or distributed with inflated thread counts.
 4            39.    When Defendant’s Products were measured according to industry standards by an
 5   independent lab, the thread counts were significantly less than claimed by Defendant. 9
 6            40.    Defendant knows that its method of calculating thread count is misleading and not
 7   based on industry standards for determining thread count. By representing that its Products had
 8   higher thread counts than the products really have, Defendant unjustly profited from the sale of
 9   such bedding and linen products to consumers. Because of Defendant’s inflated thread counts,
10   Plaintiffs and other Class Members purchased products they would not have otherwise purchased,
11   or that they would have paid a lower price for had they known the actual thread counts at the time
12   of purchase.
13            41.    As outlined above, the thread count representations are material to consumers, as
14   evidenced further by their prominence on the front packaging of the Products at issue.
15                                          CLASS ALLEGATIONS
16            42.    Plaintiffs seek to represent the following classes:
17                   (a)     All people in the United States who purchased any Beautyrest product that
18                           represents the product as having a thread count of 1000 during the applicable
19                           statute of limitations.
20                   (b)     All people in the United States who purchased any Madison Park product
21                           that represents the product as having a thread count of 1500 during the
22                           applicable statute of limitations.
23                   (c)     All people in California who purchased any Beautyrest product that
24                           represents the product as having a thread count of 1000 during the applicable
25                           statute of limitations.
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28       See Exhibits A-B.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        14
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 1                   (d)     All people in California who purchased any Madison Park product that
 2                           represents the product as having a thread count of 1500 during the applicable
 3                           statute of limitations.
 4                   (e)     All people in New York who purchased any Beautyrest product that
 5                           represents the product as having a thread count of 1000 during the applicable
 6                           statute of limitations.
 7                   (f)     All people in New York who purchased any Madison Park product that
 8                           represents the product as having a thread count of 1500 during the applicable
 9                           statute of limitations.
10           43.     The aforementioned class definitions are placeholders and subject to change.
11   Subject to additional information obtained through further investigation and discovery, the
12   foregoing class definitions may be expanded or narrowed by amended complaint or at class
13   certification, including through the use of multi-state subclasses to account for material differences
14   in state law, if any.
15           44.     Specifically excluded from proposed classes are Defendant, Defendant’s officers,
16   directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,
17   principals, servants, partners, joint ventures, or entities controlled by Defendant, and its heirs,
18   successors, assigns, or other persons or entities related to or affiliated with Defendant and/or
19   Defendant’s officers and/or directors, the judge assigned to this action, and any member of the
20   judge’s immediate family.
21           45.     Numerosity. Class members are geographically dispersed throughout the United
22   States and are so numerous that individual joinder is impracticable. Plaintiffs reasonably estimate
23   that there are hundreds of thousands of class members.
24           46.     Existence and predominance of common questions of law and fact. Common
25   questions of law and fact exist as to all class members and predominate over any questions
26   affecting only individual class members. These common legal and factual questions include, but
27   are not limited to, the following:
28


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 1                  (a)     Whether Defendant made false and/or misleading statements to the
 2                          consuming public concerning the thread count of its Products;
 3                  (b)     Whether Defendant’s labeling and packaging for the Products at issue are
 4                          misleading and/or deceptive;
 5                  (c)     Whether Defendant engaged in unfair, fraudulent, or unlawful business
 6                          practices with respect to the advertising and sale of the Products at issue;
 7                  (d)     Whether Defendant represented to consumers that the its Products have
 8                          characteristics or qualities they do not have;
 9                  (e)     Whether Defendant advertised the Products at issue with the intent to sell it
10                          not as advertised;
11                  (f)     Whether Defendant made and breached express and/or implied warranties
12                          concerning the Products at issue;
13                  (g)     Whether Defendant’s conduct injured Plaintiffs and class members; and
14                  (h)     Whether Plaintiffs and class members are entitled to damages or other relief.
15          47.     Typicality. Plaintiffs’ claims are typical of the claims of the class members in that,
16   among other things, they were deceived (or reasonably likely to be deceived) in the same way by
17   Defendant’s false and misleading claims about the purported thread count of the Products at issue.
18   All class members were comparably injured by Defendant’s wrongful conduct as set forth herein.
19   Further, there are no defenses available to Defendant that are unique to Plaintiffs.
20          48.     Adequacy of Representation. Plaintiffs will fairly and adequately protect the
21   interests of the proposed class members. Plaintiffs retained counsel that is highly experienced in
22   complex consumer class action litigation, and Plaintiffs intend to vigorously prosecute this action
23   on behalf of class members. Furthermore, Plaintiffs have no interests that are antagonistic to those
24   of class members.
25          49.     Superiority. A class action is superior to all other available means for the fair and
26   efficient adjudication of this controversy. The damages or other financial detriment suffered by
27   individual Class and Subclass Members are relatively small compared to the burden and expense of
28   individual litigation of their claims against Defendant. It would, thus, be virtually impossible for


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 1   Class or Subclass Members to obtain effective redress on an individual basis for the wrongs
 2   committed against them. Even if Class or Subclass Members could afford such individualized
 3   litigation, the court system could not. Individualized litigation would create the danger of
 4   inconsistent or contradictory judgments arising from the same set of facts. It would also increase
 5   the delay and expense to all parties and the court system from the issues raised by this action. The
 6   class action device provides the benefits of adjudication of these issues in a single proceeding,
 7   economies of scale, and comprehensive supervision by a single court, and presents no unusual
 8   management difficulties under the circumstances.
 9          50.     In the alternative, the Class and Subclasses may also be certified because:
10                  (a)     the prosecution of separate actions by individual Class and Subclass
11                          Members would create a risk of inconsistent or varying adjudications with
12                          respect to individual Class or Subclass Members that would establish
13                          incompatible standards of conduct for Defendant;
14                  (b)     the prosecution of separate actions by individual Class and Subclass
15                          Members would create a risk of adjudications with respect to them that
16                          would, as a practical matter, be dispositive of the interests of other Class and
17                          Subclass Members not parties to the adjudications, or substantially impair or
18                          impede their ability to protect their interests; and/or Defendant has acted or
19                          refused to act on grounds generally applicable to the Class and to the
20                          Subclass as a whole, thereby making appropriate final declaratory and/or
21                          injunctive relief with respect to the Members of the Class and to the
22                          Members of the Subclass as a whole.
23                                              COUNT I
                                        Breach Of Express Warranty
24
            51.     Plaintiffs incorporate by reference the allegations contained in all preceding
25
     paragraphs of this complaint.
26
            52.     Plaintiffs bring this Count individually and on behalf of the members of the
27
     proposed classes against Defendant.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         17
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 1           53.    Each Plaintiff asserts this claim under the laws of their respective state.
 2           54.    As the designer, manufacturer, marketer, distributor, and/or seller of the Products,
 3   Defendant issued an express warranty concerning the thread count of the Products.
 4           55.    Plaintiffs and class members reasonably relied on Defendant’s misrepresentations,
 5   descriptions and specifications regarding the Products’ thread counts.
 6           56.    Defendant’s representations were part of the description of the goods and the
 7   bargain upon which the goods were offered for sale and purchased by Plaintiffs and Members of
 8   the classes.
 9           57.    The Products do not conform to Defendant’s representations about the thread count
10   because they have a lower thread count than advertised.
11           58.    As a direct and proximate result of Defendant’s breach, Plaintiffs and class
12   members were injured because they: (1) paid money for the Products that were not what Defendant
13   represented; (2) were deprived of the benefit of the bargain because the Products they purchased
14   were different than what Defendant advertised; and (3) were deprived of the benefit of the bargain
15   because the Products they purchased had less value than if Defendant’s representations about the
16   characteristics of the Products were truthful. Had Defendant not breached the express warranty by
17   making the false representations alleged herein, Plaintiffs and class members would not have
18   purchased the Products or would not have paid as much as they did for them.
19           59.    Defendant was provided with pre-suit notice of the claims at issue here.
20                                             COUNT II
                             Breach of Implied Warranty of Merchantability
21
             60.    Plaintiffs incorporate by reference the allegations contained in all preceding
22
     paragraphs of this complaint.
23
             61.    Plaintiffs bring this Count individually and on behalf of the members of the
24
     proposed classes against Defendant.
25
             62.    Each Plaintiff asserts this claim under the laws of their respective state.
26
             63.    Defendant, as the designer, manufacturer, marketer, distributor, and/or seller, has
27
     made an implied promise on the label of the Beautyrest Products that they have a thread count of
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          18
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 1   1000, and has made an implied promise on the label of the Madison Park Products that they would
 2   have a thread count of 1500.
 3          64.     Defendant made implied representations about its Products’ thread counts that were
 4   false and misleading, as outlined above. Defendant’s Products had an entirely different thread
 5   count based on industry standards.
 6          65.     Defendant breached its implied warranties due to the false thread count labeling at
 7   issue in this case, Plaintiff and the proposed classes did not receive the goods as impliedly
 8   warranted by Defendant.
 9          66.     Had Defendant not breached its implied warranty by making the false
10   representations alleged herein, Plaintiffs and class members would not have purchased the Products
11   or would not have paid as much as they did for them. As such, Plaintiffs and the proposed classes
12   have sustained damages as a proximate result of the foregoing breach of implied warranty in an
13   amount to be determined at trial.
14          67.     Defendant was provided with pre-suit notice of the claims at issue here.
15                                              COUNT III
                                             Unjust Enrichment
16
            68.     Plaintiffs incorporate by reference the allegations contained in all proceeding
17
     paragraphs of this complaint.
18
            69.     Plaintiffs bring this Count individually and on behalf of the members of the
19
     proposed classes against Defendant.
20
            70.     Each Plaintiff asserts this claim under the laws of their respective state.
21
            71.     Plaintiffs and class members conferred benefits on Defendant by purchasing the
22
     Products.
23
            72.     Defendant has knowledge of such benefits.
24
            73.     Defendant has been unjustly enriched in retaining the revenues derived from the
25
     purchases of the Products. Retention of monies under these circumstances is unjust and inequitable
26
     because Defendant misrepresented that the Products contained a thread count of 1000 or 1500 and
27
     charged a price premium based on those representations.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         19
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 1            74.   Putative class members have suffered an injury in fact and have lost money as a
 2   result of Defendant’s unjust conduct. Putative class members lack and adequate remedy at law
 3   with respect to this claim and are entitled to non-restitutionary disgorgement of the financial profits
 4   that Defendant obtained as a result of its unjust conduct.
 5                                                COUNT IV
                                                    Fraud
 6
              75.   Plaintiffs incorporate by reference the allegations contained in all preceding
 7
     paragraphs of this complaint.
 8
              76.   Plaintiffs bring this Count individually and on behalf of the members of the
 9
     proposed classes against Defendant.
10
              77.   Each Plaintiff asserts this claim under the laws of their respective state.
11
              78.   As discussed above, Defendant misrepresented the thread count of the Products at
12
     issue.
13
              79.   The false and misleading representations were made with knowledge of their
14
     falsehood.
15
              80.   The false and misleading representations were made by Defendant, upon which
16
     Plaintiffs and members of the classes reasonably and justifiably relied and were intended to induce
17
     and actually induced Plaintiffs and Class members to purchase the Products.
18
              81.   The fraudulent actions of Defendant caused damage to Plaintiffs and members of
19
     the classes, who are entitled to damages and punitive damages as a result.
20

21                                              COUNT V
                         Violation of California’s Consumers Legal Remedies Act
22                                  California Civil Code § 1750, et seq.

23            82.   Plaintiffs hereby incorporate by reference the allegations contained in all preceding

24   paragraphs of this complaint.

25            83.   Plaintiffs bring this Count individually and on behalf of the members of the

26   proposed classes against Defendant.

27            84.   This cause of action is brought pursuant to California’s Consumers Legal Remedies

28   Act, Cal. Civ. Code §§ 1750-1785 (the “CLRA”).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         20
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 1          85.     Plaintiffs and class members are “consumers,” as the term is defined by California
 2   Civil Code § 1761(d), because they bought the Products at issue for personal, family, or household
 3   purposes.
 4          86.     Defendant is a “person” within the meaning of Cal. Civ. Code § 1761(c).
 5   Defendant’s Products are “goods” within the meaning of Cal. Civ. Code § 1761(a).
 6          87.     The parties have engaged in “transactions,” as that term is defined by California
 7   Civil Code § 1761(e).
 8          88.     The conduct alleged in this Complaint constitutes unfair methods of competition
 9   and unfair and deceptive acts and practices for the purpose of the CLRA, and the conduct was
10   undertaken by Defendant in transactions intended to result in, and which did result in, the sale of
11   goods to consumers.
12          89.     Defendant has violated the CLRA by making false statements about the thread count
13   of the Products at issue.
14          90.     As a result of engaging in such conduct, Defendant has violated California Civil
15   Code § 1770(a)(5), (a)(7), and (a)(9).
16          91.     As a direct and proximate result of Defendant’s unfair and deceptive business
17   practices, as alleged above and herein, Plaintiffs and class members have suffered injury.
18          92.     Defendant’s unfair and deceptive business practices, as alleged above and herein,
19   were willful, wanton, and fraudulent.
20          93.     Defendant’s officers, directors, and/or managing agents authorized the use of the
21   false and misleading statements regarding the Products’ thread counts, as alleged above and herein.
22          94.     Plaintiffs and class members suffered harm as a result of these violations of the
23   CLRA because they have paid money for the Products that they otherwise would not have incurred
24   or paid.
25          95.     Plaintiffs and class members suffered an injury in fact resulting in the loss of money
26   and/or property as a proximate result of the violations of law and wrongful conduct of Defendant
27   alleged herein, and they lack an adequate remedy at law to address the unfair conduct at issue here.
28   Legal remedies available to Plaintiffs and class members are inadequate because they are not


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          21
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 1   equally prompt and certain and in other ways efficient as equitable relief. Damages are not equally
 2   certain as restitution because the standard that governs restitution is different than the standard that
 3   governs damages. Hence, the Court may award restitution even if it determines that Plaintiffs fail
 4   to sufficiently adduce evidence to support an award of damages. Damages and restitution are not
 5   the same amount. Unlike damages, restitution is not limited to the amount of money defendant
 6   wrongfully acquired plus the legal rate of interest. Equitable relief, including restitution, entitles
 7   the plaintiff to recover all profits from the wrongdoing, even where the original funds taken have
 8   grown far greater than the legal rate of interest would recognize. Legal claims for damages are not
 9   equally certain as restitution because claims under the CLRA entail few elements. In short,
10   significant differences in proof and certainty establish that any potential legal claim cannot serve as
11   an adequate remedy at law.
12          96.      Plaintiffs seek all available relief under the CLRA, except damages. Plaintiffs
13   reserve the right to amend to seek damages at a later date.
14                                              COUNT VI
                         Violation of California’s False Advertising Law (“FAL”),
15
                                Business & Professions Code § 17500 et seq.
16          97.      Plaintiffs incorporate by reference and re-allege each and every allegation set forth
17   above as though fully set forth herein.
18          98.      Plaintiffs bring this Count individually and on behalf of the members of the
19   proposed classes against Defendant.
20          99.      Defendant violated Business & Professions Code § 17500 by publicly disseminating
21   false, misleading, and deceptive advertisements regarding the Products by falsely inflating their
22   thread count.
23          100.     Defendant’s false and misleading advertisements were disseminated to increase the
24   sales of the Products at issue. Defendant knew or should have known that its advertisements for
25   the Products were false, misleading, and deceptive.
26

27

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             22
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 1          101.    Plaintiffs and class members suffered harm as a result of these violations of the FAL
 2   because they have incurred charges and/or paid monies for Products that they otherwise would not
 3   have incurred or paid.
 4          102.    Plaintiffs and class members suffered an injury in fact resulting in the loss of money
 5   and/or property as a proximate result of the violations of law and wrongful conduct of Defendant
 6   alleged herein, and they lack an adequate remedy at law to address the unfair conduct at issue here.
 7   Legal remedies available to Plaintiffs and class members are inadequate because they are not
 8   equally prompt and certain and in other ways efficient as equitable relief. Damages are not equally
 9   certain as restitution because the standard that governs restitution is different than the standard that
10   governs damages. Hence, the Court may award restitution even if it determines that Plaintiffs fail
11   to sufficiently adduce evidence to support an award of damages. Damages and restitution are not
12   the same amount. Unlike damages, restitution is not limited to the amount of money defendant
13   wrongfully acquired plus the legal rate of interest. Equitable relief, including restitution, entitles
14   the plaintiff to recover all profits from the wrongdoing, even where the original funds taken have
15   grown far greater than the legal rate of interest would recognize. Legal claims for damages are not
16   equally certain as restitution because claims under the FAL entail few elements. In short,
17   significant differences in proof and certainty establish that any potential legal claim cannot serve as
18   an adequate remedy at law.
19          103.    Plaintiffs seek all available relief under the FAL.
20                                             COUNT VII
                           Violation of California’s Unfair Competition Law (“UCL”),
21
                                   Business & Professions Code §§ 17200 et seq.
22          104.    Plaintiffs incorporate by reference and re-allege each and every allegation set forth
23   above as though fully set forth herein.
24          105.    Plaintiffs bring this Count individually and on behalf of the members of the
25   proposed classes against Defendant.
26

27

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             23
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 1          106.      By committing the acts and practices alleged herein, Defendant has violated
 2   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200-17210 by
 3   engaging in unlawful, fraudulent, and unfair conduct.
 4          107.      Defendant has violated the UCL’s proscription against engaging in unlawful
 5   conduct as a result of its violations of the CLRA, Cal. Civ. Code § 1770(a)(5), (a)(7), and (a)(9) as
 6   alleged above, as well as its violations of the other laws referenced herein. Defendant has also
 7   violated the unlawful prong under FCTA § 5(A) because its business practices are “likely to cause
 8   substantial injury to consumers which is not reasonably avoidable by consumers themselves and
 9   not outweighed by countervailing benefits to consumers or to competition.” 15 U.S.C. § 45(n).
10          108.      Defendant’s business practices are also unlawful pursuant to the FTCA by way of
11   the Textile Fiber Products Identification Act, 15 U.S.C. §§ 70a(a), 70a(b), and/or § 70a(c). These
12   sections make it unlawful, under 15 U.S.C. §§ 41 et seq., to sell, transport, deliver, or advertise
13   “any textile fiber product . . . which is misbranded or deceptively advertised.”
14          109.      Defendant’s business practices are fraudulent because they include affirmative
15   representations and omissions and are likely to mislead reasonable consumers under the
16   circumstances.
17          110.      Plaintiffs and the members of the Class have suffered an injury in fact resulting in
18   the loss of money and/or property as a proximate result of the violations of law and wrongful
19   conduct of Defendant alleged herein, and they lack an adequate remedy at law to address the unfair
20   conduct at issue here. Legal remedies available to Plaintiffs and class members are inadequate
21   because they are not equally prompt and certain and in other ways efficient as equitable relief.
22   Damages are not equally certain as restitution because the standard that governs restitution is
23   different than the standard that governs damages. Hence, the Court may award restitution even if it
24   determines that Plaintiffs fail to sufficiently adduce evidence to support an award of damages.
25   Damages and restitution are not the same amount. Unlike damages, restitution is not limited to the
26   amount of money defendant wrongfully acquired plus the legal rate of interest. Equitable relief,
27   including restitution, entitles the plaintiff to recover all profits from the wrongdoing, even where
28   the original funds taken have grown far greater than the legal rate of interest would recognize.


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 1   Legal claims for damages are not equally certain as restitution because claims under the UCL entail
 2   few elements. In short, significant differences in proof and certainty establish that any potential
 3   legal claim cannot serve as an adequate remedy at law.
 4          111.    Plaintiffs seek all available relief under the UCL.
 5                                           COUNT VIII
                       Violation of New York General Business Laws §§ 349 & 350
 6
            112.    Plaintiffs hereby incorporate by reference the allegations contained in all preceding
 7
     paragraphs of this complaint.
 8
            113.    Plaintiff Clark brings this Count individually and on behalf of the members of the
 9
     New York subclasses against Defendant.
10
            114.    New York General Business Law §349 prohibits “[d]eceptive acts or practices in the
11
     conduct of any business, trade or commerce or in the furnishing of any service[.]”
12
            115.    Similarly, New York General Business Law §350 prohibits “[f]alse advertising in
13
     the conduct of any business, trade or commerce or in the furnishing of any service[.]”
14
            116.    Defendant intended that Plaintiffs and class members would rely upon its deceptive
15
     conduct and false advertising of thread count, and a reasonable person would in fact be misled by
16
     this deceptive conduct.
17
            117.    As a result of the Defendant’s use or employment of unfair or deceptive acts or
18
     business practices and false advertising, Plaintiff Clark and members of the New York subclasses
19
     have sustained damages in an amount to be proven at trial.
20
            118.    In addition, Defendant’s conduct showed malice, motive, and the reckless disregard
21
     of the truth such that an award of punitive damages is appropriate.
22
            119.    Plaintiff Clark seeks all available relief under GBL §§ 349 and 350, including but
23
     not limited to statutory damages.
24
                                          PRAYER FOR RELIEF
25
            WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seeks
26
     judgment against Defendant, as follows:
27

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          25
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 1           (a)      For an order certifying the Class and the Subclasses under Rule 23 of the Federal Rules
 2                    of Civil Procedure, naming Plaintiffs as the representative of the Class, Plaintiff Staples
 3                    and Scott representatives of the California Subclass, Plaintiff Clark representative of the
 4                    New York Subclass, and Plaintiffs’ attorneys as Class Counsel to represent the Class
 5                    and Subclass members;
 6           (b)      For an order declaring the Defendant’s conduct violates the statutes referenced herein;
 7           (c)      For an order finding in favor of Plaintiffs, the Class, and the Subclasses on all counts
 8                    asserted herein;
 9           (d)      For compensatory, statutory, and punitive damages in amounts to be determined by the
10                    Court and/or jury;
11           (e)      For prejudgment interest in all amounts awarded;
12           (f)      For an order of restitution and all other forms of equitable monetary relief, including
13                    non-restitutionary disgorgement;
14           (g)      For an order awarding Plaintiffs and the Class and Subclasses their reasonable attorney’s
15                    fees and expenses and costs of suit.
16                                           JURY TRIAL DEMANDED
17           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any and
18   all issues in this action so triable of right.
19

20   Dated: January 4, 2024                           BURSOR & FISHER, P.A.

21                                                    By:     /s/ Joel D. Smith
                                                                  Joel D. Smith
22
                                                      Joel D. Smith (State Bar No. 244902)
23
                                                      Brittany S. Scott (State Bar No. 327132)
24                                                    1990 North California Blvd., Suite 940
                                                      Walnut Creek, CA 94596
25                                                    Telephone: (925) 300-4455
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26                                                    E-mail: jsmith@bursor.com
27                                                            bscott@bursor.com

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             26
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 1                                       TREEHOUSE LAW, LLP
                                         Benjamin Heikali (State Bar No. 307466)
 2                                       2121 Avenue of the Stars, Suite 2580
 3                                       Los Angeles, CA 90067
                                         Telephone: (310) 751-5928
 4                                       E-mail: bheikali@treehouselaw.com

 5                                       Attorneys for Plaintiffs

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                  27
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2            I, Joel D. Smith, declare as follows:
 3           1.       I am an attorney at law licensed to practice in the State of California, and I am a
 4   member of the bar of this Court. I am a Partner at Bursor & Fisher, P.A., counsel of record for
 5   Plaintiffs in this action. I have personal knowledge of the facts set forth in this declaration and, if
 6   called as a witness, I could and would competently testify thereto under oath.
 7           2.       The Complaint filed in this action is filed in the proper place for trial under Civil
 8   Code Section 1780(d) because Defendant is headquartered in this District and Plaintiff Staples
 9   alleges that the transaction at issue occurred in this District.
10           I declare under the penalty of perjury under the laws of the State of California and the United
11   States that the foregoing is true and correct and that this declaration was executed at Danielson,
12   Connecticut, on January 4, 2024.
13
                                                             /s/ Joel D. Smith
14
                                                                 Joel D. Smith
15

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          28
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                                                  EXHIBIT A
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                  WARP AND WEFT COUNTS OF SHEET SAMPLE 14

The warp (end) and weft (pick or filling) counts (also called “fabric count”) of Sheet Sample 14
were determined according to the ASTM D3775-17 Standard Test Method for End (Warp) and
Pick (Filling) Count of Woven Fabrics [1]. Sheet Sample 14 is “Madison Park® 1500 Thread
Count Cotton Rich Sheet Set”, which is shown in Figure 1.




                                   Figure 1 Sheet Sample 14


The sheet sample was conditioned at 72oF and 65% RH for more than 24 hours according to the
ASTM D1776 Standard Practice for Conditioning and Testing Textiles. Five specimens,
approximately 3.5”x3.5”, were cut diagonally from the sheet sample as shown in Figure 2. The
specimen locations were selected according to the ASTM standard.


                                               1
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                   Figure 2 Locations of the specimens on the sheet sample




Then, each specimen was raveled to 1”x1” (2.5 cm x 2.5 cm) as shown in Figure 3.




                                              2
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                                  Figure 3 A raveled specimen


Then, using Meiji Techno EMZ-13TR microscope, the number of yarns in the warp and weft
directions were counted and the average is reported. The average yarn count was rounded to the
nearest whole yarn. The results are shown in Table 1.

                             Table 1 Warp, weft, and fabric counts

                       Warp count/inch       Weft count/inch         Fabric count/square inch
 Specimen 1                  78                    213                         291
 Specimen 2                  78                    218                         296
 Specimen 3                  77                    215                         292
 Specimen 4                  78                    218                         296
 Specimen 5                  78                    215                         293
         Average             79                    216                         295


                                               3
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No plied yarn or cord was observed in the warp or weft direction.

Conclusion:

The average number of warps and wefts per inch of Sheet Sample 13, to a reasonable degree of
scientific certainty, is 79 x 216, respectively (fabric thread count of 295 per square inch).


Prepared by:




Dr. Sabit Adanur, Professor

11 December 2022




References

[1] American Society for Testing and Materials, www.astm.org.




                                                  4
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                                                    EXHIBIT B
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                                                                FEDERAL
                                                                      TRA.DE
                                                                           COMMISSION



                                         A                         ~
                                                                _t)IVISION ENFORCEMENT

                              AMERICAN           TEXTILE
                      MANUFACTURERS                  INSTITUTE



                                                      January 31, 2002



 Mr. Steve Ecklund
 Federal Trade Commission
 Division of Enforcement
 Washington, DC 20580


                                                      Re:    Request for FTC Staff
                                                             Opinion on Yarn Count


Dear Mr. Ecklund:

It has come to our attention again that. some companies are marketing bed
sheets and pillowcases to U.S. consumers where extremely high yarn or thread
counts are claimed -some as high as 1000 count. We believe these products
are mislabeled, creating deceptive information for the consumer.

Labeling these products based on a count that includes each ply in plied yarns
deceives the customer into believing that bedding products with higher counts
are better when, in fact, they might be inferior because of the method used to
determine the count. We wrote to the Commission regarding this same issue on
February 24, 1997 (copy enclosed) and provided a fabric sample and
independent lab report verifying our position.

In many cases, these extremely high counts are achieved by counting yams
within a ply as individual yams, thus dramatically increasing the number of yarns
in a square inch of fabric. A plied yarn is one in which two or more yarns are
twisted together to form a single strand.

ATMI believes this method of labeling products based on counting each
individual yarn in plies to be a deceptive practice, which misleads the American



  .          1130 Connecticut Ave., NW. Suite 1200. Washington, DC 20036-3954
                    202-862-0500 .fax: 202-862-0570. http://www.atmi.org
                                fax on demand: 202-862-0572
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    ,




    public into making decisions to purchase items, based on false and misleading
    information.

    ASTM method D 3775-96 (Standard Test Method for Fabric Count of Woven
    Fabric) is the long-accepted industry standard for determining count. This
    method has been in use in this country for many years and serves as the
    industry's standard way to report the count of many woven textile fabrics,
    including sheeting. It is based on the number of yarns in the warp direction and
    filling direction, regardless of ply, and has become an important parameter used
    by consumers to judge the quality of sheeting products, since the higher the
    count, the more luxurious the product.

    ATMI believes that any information provided to the consumer should be true and
    correct so as not to be deceptive or mis-leading. We believe that plied yarns are
    properly counted as only one yarn. For example, a fabric containing 250
    individual four ply yarns in a square inch would be described as a "250 thread
    count fabric, even though each thread or yarn contained four plies twisted
    together." It would be false and mis-leading to describe this as a 1000 thread
    count product.

    ATMI requests a staff opinion from the Federal Trade Commission on this issue.
    We believe that manufacturers, importers and retailers of bed sheets should rely
    on the ASTM D3775-96 standard test method to determine count.




                                                a:;;el#        ~

                                                    Carlos Moore
                                                    Executive Vice President


    Enclosure




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                                                   EXHIBIT C
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